          Case 17-13179-amc      Doc  Filed 07/17/24 Entered 07/17/24 14:21:09            Desc Main
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                             IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                      PHILADELPHIA DIVISION

In Re:                                         ) Bankruptcy Case No. 17-13179-AMC
                                               )
Christopher R Smialowski,                      ) Chapter 13
Michelle Smialowski,
                                               )
Debtors                                        ) Judge: Ashely M. Chan
                                               )

                        WITHDRAWAL OF NOTICE OF PAYMENT CHANGE

         COMES NOW Fay Servicing, LLC by and through its attorney, McCalla Raymer Leibert Pierce, LLC,
and respectfully moves this Court to allow it to withdraw the Notice of Payment Change filed on June 20, 2024.


Notice of Payment Change Filed Date: June 20, 2024
Notice of Payment Change Claim Number: 6




                                             /s/Ciro A Mestres
                                             Ciro A Mestres
                                             Pennsylvania BAR NO.
                                             Attorney for Fay Servicing, LLC
                                             McCalla Raymer Leibert Pierce, LLC
                                             1544 Old Alabama Road
                                             Roswell, GA 30076
                                             Phone: 678-281-6516
                                             Fax: Ciro
                                             Ciro.Mestres@mccalla.com
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                                                                 Bankruptcy Case No.:           17-13179-AMC
 In Re:                                                          Chapter:                      13
           Christopher R Smialowski                              Judge:                        Ashely M. Chan
           Michelle Smialowski

                                             CERTIFICATE OF SERVICE

           I, Ciro A Mestres, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road, Roswell, GA 30076,
certify:

           That I am, and at all times hereinafter mentioned, was more than 18 years of age;

         That on the date below, I served a copy of the within WITHDRAWAL OF NOTICE OF PAYMENT
CHANGE filed in this bankruptcy matter on the following parties at the addresses shown, by regular United States
Mail, with proper postage affixed, unless another manner of service is expressly indicated:

Christopher R Smialowski
3013 Belgrade Street
Philadelphia, PA 19134

Michelle Smialowski
3013 Belgrade Street
Philadelphia, PA 19134

MICHAEL I. ASSAD                                       (served via ECF Notification)
Cibik Law, P.C.
1500 Walnut St
Ste 900
Philadelphia, PA 19102

Kenneth E. West, Trustee                               (served via ECF Notification)
Office of the Chapter 13 Standing Trustee
1234 Market Street - Suite 1813
19107, PA 19107

U.S. Trustee                                           (served via ECF Notification)
Office of the U.S. Trustee
Robert N.C. Nix Federal Building
Suite 320
Philadelphia, PA 19107

           I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.

Executed on:          07/17/2024          By:      /s/Ciro A Mestres
                         (date)                    Ciro A Mestres
                                                   Pennsylvania BAR No.
                                                   Attorney for Fay Servicing, LLC
